Case 7:24-cv-00114-B           Document 73       Filed 01/17/25       Page 1 of 2     PageID 366



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                 WICHITA FALLS DIVISION


 X. CORP.,                                        §
                                                  §
      Plaintiff,                                  §
                                                  §
 v.                                               §     CIVIL ACTION NO. 7:24-CV-0114-B
                                                  §
 WORLD FEDERATION OF                              §
 ADVERTISERS; MARS,                               §
 INCORPORATED; CVS HEALTH                         §
 CORPORATION; ØRSTED A/S; and                     §
 TWITCH INTERACTIVE, INC.,                        §
                                                  §
      Defendants.                                 §


                                              ORDER

         Before the Court is the parties’ Joint Motion to Extend Deadlines and Implement Joint

Briefing Schedule (Doc. 72). The Court GRANTS the Motion and implements the following

deadlines:

         The deadline for all Defendants to answer or otherwise respond to the First Amended

Complaint is extended by 7 days until February 21, 2025. Plaintiff’s deadline to oppose Defendants’

responsive motions is April 15, 2025. Defendants’ deadline to file reply briefs is June 17, 2025.

         By no later than January 20, 2025, Plaintiff will share with the existing Defendants a draft

of the proposed Second Amended Complaint.

         By no later than January 27, 2025, Defendants will advise Plaintiff whether they intend to

oppose Plaintiff’s anticipated motion for leave to file the Second Amended Complaint.

         By no later than January 31, 2025, Plaintiff will file a motion for leave to file the Second

Amended Complaint.

                                                  -1-
Case 7:24-cv-00114-B         Document 73        Filed 01/17/25       Page 2 of 2    PageID 367



            •   If the motion is opposed, Defendants will file their response to Plaintiff’s motion

                for leave to file the Second Amended Complaint by February 21, 2025.

            •   If the motion is unopposed, Defendants will have no obligation to respond to the

                First Amended Complaint and will instead respond to the Second Amended

                Complaint in accordance with the following paragraphs.

       If Plaintiff receives leave to file the Second Amended Complaint, within 21 days of such

receipt, the parties—including any newly added defendants that have been served or have agreed to

waive service—will confer and submit to the Court a proposed schedule for moving to dismiss or

otherwise responding to the Second Amended Complaint. The parties will use their reasonable best

efforts to agree on a coordinated response deadline for all Defendants.

       Plaintiff will not seek further leave to amend the Complaint to name additional defendants

unless and until defendants are required to file answers to the operative complaint, as may be

necessary, and the Court enters a Scheduling Order.

        SO ORDERED.

        SIGNED: January 17, 2025.




                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




                                                -2-
